Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 1 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 2 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 3 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 4 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 5 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 6 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 7 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 8 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 9 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 10 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 11 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 12 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 13 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 14 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 15 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 16 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 17 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 18 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 19 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 20 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 21 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 22 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 23 of 24
Case 9:10-cv-80737-DTKH Document 73 Entered on FLSD Docket 12/17/2010 Page 24 of 24
